Case 2:03-cr-20102-SH|\/| Document 52 Filed 07/14/05 Page 1 of 2 Page|D 61

HUHJBY m“_DC.
:N THE UNITED sTATEs DISTRICT COURT
FOR THE WESTERN DISTRICT oF TENNESSEE g5JUL|h AH||:QZ
WESTERN DIVISION

 

   

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UNITED S'I‘ATES OF AMERICA, 1;?1,¢{;: ri:i_`_§,'H;S
VS. NO. 03-20102-Ma

SHYRETTE JOH.NSON ,

Defendant.

 

ORDER GRANTING MOTION TO CONTINUE SUPPRESSION HEARING

 

Before the court is the government's July 12, 2005, motion
to reset the hearing on the motion to suppress Which Was set on
July 14, 2005. Counsel for the defendant does not oppose the
resetting. For good Cause shown, the motion is granted. The
hearing on the motion to suppress is reset to Monday, August l,

2005, at 10300 a.m.

/va___

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

lt is 50 oRDERED this 'Bid`day of July, ;;;5.

 

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Honorable Samuel Mays
US DISTRICT COURT

